Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 1 of 17 Page ID #:323




                                     FOR PUBLICATION

                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


                 ROBERT COHEN, a consumer, on                      No. 20-55969
                 behalf of himself and all others
                 similarly situated,                                 D.C. No.
                                     Plaintiff-Appellant,         8:20-cv-00637-
                                                                    DOC-ADS
                                      v.

                 CONAGRA BRANDS, INC., a Delaware                     OPINION
                 corporation,
                              Defendant-Appellee.

                        Appeal from the United States District Court
                           for the Central District of California
                         David O. Carter, District Judge, Presiding

                          Argued and Submitted September 3, 2021
                                   Pasadena, California

                                     Filed October 26, 2021

                   Before: Mark J. Bennett and Ryan D. Nelson, Circuit
                       Judges, and David A. Ezra, * District Judge.

                                   Opinion by Judge Bennett


                    *
                      The Honorable David A. Ezra, United States District Judge for the
                District of Hawaii, sitting by designation.
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 2 of 17 Page ID #:324




                2                      COHEN V. CONAGRA

                                          SUMMARY **


                                 Product Labels / Preemption

                    The panel affirmed in part and reversed in part the
                district court’s dismissal of a plaintiff’s putative consumer
                class action alleging that ConAgra Brands, Inc. falsely
                advertised its frozen chicken products as natural and
                preservative-free, when in fact they contained synthetic
                ingredients.

                    The district court found that the U.S. Department of
                Agriculture’s Food Safety and Inspection Service (“FSIS”)
                had approved ConAgra’s poultry labels, and therefore
                plaintiff’s claims challenging both the label and ConAgra’s
                website advertising were preempted by the federal Poultry
                Products Inspection Act (“PPIA”). The district court
                dismissed all of plaintiffs’ claims.

                    A plaintiff who brings a state law claim that the approved
                label is false or misleading is seeking to impose a
                requirement different from the federal requirements, and that
                state law claim is preempted by 21 U.S.C. § 467e, which bars
                plaintiffs from challenging the agency’s application of the
                PPIA’s mislabeling standards through state law claims.
                Plaintiff alleged that the PPIA contained a savings clause
                that allowed his claims to survive preemption. Plaintiff
                mainly disputed whether there was enough evidence in the
                record to support the district court’s finding that ConAgra’s
                labels were reviewed and approved by FSIS. The panel held
                that the mere existence of the label was insufficient to

                    **
                       This summary constitutes no part of the opinion of the court. It
                has been prepared by court staff for the convenience of the reader.
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 3 of 17 Page ID #:325




                                    COHEN V. CONAGRA                          3

                establish that it was reviewed and approved by FSIS.
                Preemption is an affirmative defense, and when the parties
                dispute whether FSIS review occurred at all, the defendant
                must produce evidence that the label was reviewed and
                approved by FSIS. The panel reversed the district court’s
                preemption of plaintiff’s claims challenging the product
                label. On limited remand, the parties should submit
                evidence about (and the district court should decide) only
                whether ConAgra’s label was reviewed and approved by
                FSIS. If the evidence shows that ConAgra’s label was
                approved by FSIS, then plaintiff’s claims are preempted.
                Plaintiff may not try to argue or show that FSIS’s approval
                decision was wrong.

                    ConAgra’s website representations were not reviewed
                by FSIS. The label and the website were not materially
                identical. The website representation about the chicken
                products read: “They’re made with 100% natural, white
                meat chicken and without preservatives, artificial flavors, or
                artificial colors.” The panel held, assuming that the product
                labels were reviewed by FSIS, plaintiff could not challenge
                the first half of that representation because it was essentially
                identical to the representation on the product label – “Made
                with 100% Natural White Meat Chicken.” Any challenge to
                that phrase was premised ultimately upon the inadequacy of
                the product label, and preempted. The second half of the
                representation was materially different from the
                representations on the label. The panel held, accordingly,
                that plaintiff’s state law claims challenging ConAgra’s
                website representation that the chicken products as a whole
                contained no preservatives, artificial flavors, or artificial
                colors were not preempted.

                    The panel declined ConAgra’s invitation to affirm the
                district court’s decision on five different grounds. The panel
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 4 of 17 Page ID #:326




                4                   COHEN V. CONAGRA

                did not consider four of ConAgra’s arguments. The panel
                did reach ConAgra’s fifth argument, and concluded that the
                primary jurisdiction doctrine was inapplicable here. The
                doctrine is a prudential doctrine under which courts may
                determine that the initial decision-making responsibility
                should be performed by the relevant agency rather than the
                courts. The panel held that none of the justifications for the
                primary jurisdiction doctrine existed here.


                                        COUNSEL

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                Nowell Donald Berreth (argued) and Angela M. Spivey,
                Alston & Bird LLP, Atlanta, Georgia; Rachel E. K. Lowe,
                Alston & Bird LLP, Los Angeles, California; for Defendant-
                Appellee.

                Robert W. George, Friday Eldredge & Clark LLP, Rogers,
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                Little Rock, Arkansas; for Amici Curiae Consumer Brands
                Association, North American Meat Institute, National
                Turkey Federation, National Chicken Council, National
                Pork Producers Council, American Association of Meat
                Processors, and American Frozen Food Institute.

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Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 5 of 17 Page ID #:327




                                       COHEN V. CONAGRA                      5

                Amici Curiae National Association of Consumer Advocates,
                Animal Legal Defense Fund, and Food & Water Watch Inc.


                                               OPINION

                BENNETT, Circuit Judge:

                    Robert Cohen brings state claims alleging that ConAgra
                Brands, Inc. (“ConAgra”), falsely advertises its frozen
                chicken products as natural and preservative-free, when in
                fact they contain synthetic ingredients. But poultry products
                and their labeling are strictly regulated by the Poultry
                Products Inspection Act (“PPIA”). 1 Under the PPIA, certain
                poultry labels, like the ones in this case, must be preapproved
                by a federal agency before the products go to market. See
                21 U.S.C. § 457(c); 9 C.F.R. § 412.2(b), (e). The district
                court found that the United States Department of
                Agriculture’s Food Safety and Inspection Service (“FSIS”)
                had approved ConAgra’s poultry labels, and thus Cohen’s
                claims challenging both the label and ConAgra’s website
                advertising were preempted. We have jurisdiction under
                28 U.S.C. § 1291; we affirm in part, reverse in part, and
                remand. 2

                                                  I.

                    In 2015, Cohen began purchasing various frozen chicken
                products such as chicken nuggets and fried chicken. These
                chicken products are produced by ConAgra and similarly

                   1
                       21 U.S.C. §§ 451–473.
                   2
                    We GRANT the motion of the National Association of Consumer
                Advocates, et al. to become amici curiae in support of Cohen.
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 6 of 17 Page ID #:328




                6                  COHEN V. CONAGRA

                labeled, with prominent representations on the front of the
                packaging that read (in capital letters of varying sizes):
                “Made with 100% Natural White Meat Chicken”; “No
                Preservatives”; “No Artificial Colors”; “No Added
                Hormones”; “No Artificial Flavors”; and “0g Trans Fat per
                Serving.” The chicken products allegedly contain three
                “synthetic” ingredients: sodium acid pyrophosphate, sodium
                tripolyphosphate, and modified corn starch. Sodium acid
                pyrophosphate improves the color of canned foods and is
                also a leavening agent often used in baked goods. Sodium
                tripolyphosphate is a preservative that slows the spoilage of
                meat, helps keep its natural color, and improves its texture.
                Modified corn starch has thickening properties.

                     Cohen alleges that, based on the representations on the
                product labels, he thought the entirety of the chicken
                products (as opposed to only the chicken meat contained in
                those products) was “free of preservatives and synthetic
                ingredients.” Thus, he claims the labels are false or
                misleading. In early 2018, Cohen visited ConAgra’s
                website, which provides descriptions of the chicken products
                with a picture of the front packaging. The description
                paraphrases the representations on the label, and states:
                “[The product is] made with 100% natural white-meat
                chicken, and without preservatives, artificial flavors, or
                artificial colors.” Cohen claims that he relied on these
                representations and continued buying ConAgra’s chicken
                products until January 2019. In April 2020, Cohen brought
                this putative class action against ConAgra, claiming that its
                product label and website representations violated
                California’s Consumer Legal Remedies Act (“CLRA”),
                Unfair Competition Law (“UCL”), and False Advertising
                Law (“FAL”). See Cal. Civil Code §§ 1750–1784; Cal. Bus.
                & Prof. Code §§ 17200–17210; Cal. Bus. & Prof. Code
                §§ 17500–17536. He sought damages and injunctive relief.
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 7 of 17 Page ID #:329




                                    COHEN V. CONAGRA                        7

                    The district court dismissed Cohen’s claims as
                preempted by the PPIA. The court took judicial notice of the
                images of the front packaging submitted by ConAgra and
                concluded that the FSIS had “approved the labeling of the
                Chicken Products, including the specific representation
                challenged by [Cohen].” The court also found “no reason to
                distinguish between the packaging itself and an image of the
                packaging viewed over the Internet.” Thus, it held that all
                of Cohen’s claims were preempted and dismissed them with
                prejudice.

                                             II.

                    We review de novo a district court’s dismissal for failure
                to state a claim upon which relief can be granted. Curtis v.
                Irwin Indus., Inc., 913 F.3d 1146, 1151 (9th Cir. 2019).
                Questions of preemption and statutory interpretation are also
                reviewed de novo. Ass’n des Éleveurs de Canards et d’Oies
                du Québec v. Becerra, 870 F.3d 1140, 1145 (9th Cir. 2017).
                We review the denial of leave to amend for an abuse of
                discretion, but we review the futility of amendment de novo.
                United States v. United Healthcare Ins. Co., 848 F.3d 1161,
                1172 (9th Cir. 2016).

                                             III.

                    Congress passed the PPIA to “assur[e] that poultry
                products . . . are wholesome, not adulterated, and properly
                marked, labeled, and packaged.” 21 U.S.C. § 451. The
                statute prohibits the sale of poultry “under any name or other
                marking or labeling which is false or misleading,” but
                “marking and labeling . . . which are not false or misleading
                and which are approved by the Secretary are permitted.” Id.
                § 457(c). The Secretary delegated authority to oversee
                poultry products to FSIS, 9 C.F.R. § 300.2(a), and FSIS
                promulgated regulations to govern the label approval
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 8 of 17 Page ID #:330




                8                        COHEN V. CONAGRA

                process: “No final label may be used on any product unless
                the label has been submitted for approval to the FSIS
                Labeling and Program Delivery Staff . . . and approved by
                such staff, except for generically approved labels . . . .” Id.
                § 412.1(a). Generically approved labels can “bear claims
                and statements that are defined in FSIS’s regulations or the
                Food Standards and Labeling Policy Book (except for
                natural and negative claims)” and are deemed approved
                without being submitted for evaluation. Id. § 412.2(b).
                Almost all other claims are classified as “special statements
                and claims,” and must be submitted to FSIS in the form of a
                final label for approval. Id. § 412.1(c), (e). 3 Thus, the PPIA
                creates a regulatory scheme in which, depending on the
                content of the representations, some labels must be reviewed
                and approved by FSIS.



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                        The regulations define “special statements and claims” as:

                           claims, logos, trademarks, and other symbols on labels
                           that are not defined in the Federal meat and poultry
                           products inspection regulations or the Food Standards
                           and Labeling Policy Book, (except for “natural” and
                           negative claims (e.g., “gluten free”)), health claims,
                           ingredient and processing method claims (e.g., high-
                           pressure processing), structure-function claims, claims
                           regarding the raising of animals, organic claims, and
                           instructional or disclaimer statements concerning
                           pathogens (e.g., “for cooking only” or “not tested for
                           E. coli O157:H7”). Examples of logos and symbols
                           include graphic representations of hearts and
                           geographic landmarks. Special statements and claims
                           do not include allergen statements (e.g., “contains
                           soy”) applied in accordance with the Food Allergen
                           Labeling and Consumer Protection Act.

                9 C.F.R. § 412.1(e).
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 9 of 17 Page ID #:331




                                       COHEN V. CONAGRA                              9

                     The PPIA also includes an express preemption
                provision, which provides that any “[m]arking, labeling,
                packaging, or ingredient requirements . . . in addition to, or
                different than, those made under this chapter may not be
                imposed by any State or Territory . . . with respect to articles
                prepared at any official establishment.” 21 U.S.C. § 467e. In
                Webb v. Trader Joe’s Co., we considered whether the PPIA
                preempted a plaintiff’s challenge to a poultry product’s
                retained water statement. 999 F.3d 1196, 1199 (9th Cir.
                2021). We concluded that “FSIS [r]eviewed Trader Joe’s
                [l]abels,” including the retained water statement, so “[a]ny
                additional label requirements [plaintiff] seeks to place on
                Trader Joe’s through [her state law claim] would necessarily
                be ‘different than’ those required by the PPIA, and her
                claims are thus preempted.” Id. at 1203–04. 4 So when the
                agency reviews and approves a label, the agency is deciding
                that it is not false or misleading under the PPIA, and thus the
                agency “imposes” a federal requirement within the meaning
                § 467e. Cf. Riegel v. Medtronic, Inc., 552 U.S. 312, 322–23
                (2008) (“Premarket approval . . . imposes ‘requirements’
                under the [Medical Device Amendments of 1976] . . . . [I]t
                is in no sense an exemption from federal safety review—it is
                federal safety review.”). If a plaintiff claims that such a label
                is false or misleading notwithstanding review and approval
                by FSIS, he is essentially claiming that the agency’s decision
                to approve the label was wrong. Cf. Marentette v. Abbott
                Labs., Inc., 886 F.3d 112, 118 (2d Cir. 2018). Thus, a
                plaintiff who brings a state law claim that the approved label

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                       Cohen claims that Webb is limited to situations in which federal
                regulations dictate the data collection process used to support certain
                label statements (such as retained water representations). But in Webb,
                we found two separate federal requirements that each preempted the
                plaintiff’s claims: (1) the detailed regulation about measuring water
                retention, and (2) agency approval of the label. 999 F.3d at 1201–02.
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 10 of 17 Page ID #:332




                 10                   COHEN V. CONAGRA

                 is false or misleading is seeking to impose a requirement
                 different from the federal requirements. That state law claim
                 is preempted by § 467e, which bars plaintiffs from
                 challenging the agency’s application of the PPIA’s
                 mislabeling standards through state law claims. See Webb,
                 999 F.3d at 1204.

                     Cohen argues that, Webb notwithstanding, the PPIA
                 includes a savings clause that allows his claims to survive
                 preemption. Section 467e provides that any State “may,
                 consistent with the requirements under this chapter exercise
                 concurrent jurisdiction with the Secretary over articles
                 required to be inspected under this chapter for the purpose of
                 preventing the distribution . . . of any such articles which are
                 adulterated or misbranded and are outside of [an official]
                 establishment.” But in National Broiler Council v. Voss, we
                 explained that § 467e “authorizes states to undertake,
                 concurrently with the USDA, efforts to enforce federal
                 requirements.” 44 F.3d 740, 746 (9th Cir. 1994) (per
                 curiam) (“[Section 467e] does not grant states the authority
                 to enact their own additional requirements.”). Cohen’s
                 policy arguments against preemption are not only irrelevant,
                 but also unpersuasive. The absence of a remedy for
                 consumers in the PPIA is intentional. See 21 U.S.C. § 467d.
                 Congress granted a federal agency the authority to uniformly
                 determine the standard for poultry mislabeling and to apply
                 that standard to labels before they go to market. See Voss,
                 44 F.3d at 744. Allowing private consumers to second-guess
                 the agency’s decisions through state law claims against
                 producers would both circumvent that pre-approval process
                 and conflict with the PPIA’s goal of national uniformity. See
                 21 U.S.C. § 467e; H.R. Rep. No. 90-1333, (1968), reprinted
                 in 1968 U.S.C.C.A.N. 3426, 3442 (“States would be
                 precluded [under the amended PPIA] from imposing
                 additional or different labeling . . . requirements for federally
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 11 of 17 Page ID #:333




                                         COHEN V. CONAGRA                              11

                 inspected products. Both industry and consumers would
                 benefit from . . . greater uniformity of labeling requirements
                 . . . .”). Thus, if ConAgra’s labels were reviewed and
                 approved by FSIS, then Cohen’s claims challenging the
                 labels would be preempted. 5

                     Cohen mainly disputes whether there is enough evidence
                 in the record to support the district court’s finding that
                 ConAgra’s labels were reviewed and approved by FSIS. The
                 only evidence before us is the label itself—there are no
                 affidavits or other documentary evidence showing that the
                 label was submitted to and approved by FSIS. 6 In Webb, we



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                        Webb did leave a “possible ‘narrow gap’” through which a
                 plaintiff’s claims might survive preemption. 999 F.3d at 1204. But that
                 “gap” is limited to situations in which the plaintiff challenges the facts
                 underlying the agency approval process. See In re Aurora Dairy Corp.
                 Organic Milk Mktg. & Sales Pracs. Litig., 621 F.3d 781, 797–99 (8th
                 Cir. 2010). Cohen does not make those allegations (and it is unlikely
                 any such allegations, if made, would be plausible given that the
                 “synthetic” ingredients are listed in the ingredient list on the packaging
                 of the chicken products).
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                        After argument, ConAgra filed a Federal Rule of Appellate
                 Procedure 28(j) letter including an application for sketch approval for
                 one of its chicken products, with a stamp showing FSIS approved the
                 application. The “approved” label contains the same representations as
                 those that Cohen challenges here. And because “[p]reviously approved
                 labels containing special claims may be generically approved if the only
                 modification involves changes unrelated to the special claim,” Prior
                 Label Approval System: Generic Label Approval, 78 Fed. Reg. 66826-
                 01, 66830 (Nov. 7, 2013), ConAgra’s evidence would preempt all of
                 Cohen’s product-label claims to all product labels, (unless he can
                 plausibly allege the modification is misleading). Cohen does not do so
                 here. Instead, he alleges that the special statements (which are
                 unchanged) are misleading. Thus, ConAgra’s evidence would establish
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 12 of 17 Page ID #:334




                 12                      COHEN V. CONAGRA

                 found that label evidence alone was enough to conclude that
                 a retained water claim was federally approved, but the
                 plaintiff in that case did not challenge whether the label was
                 reviewed by FSIS. See id. at 1203–04. 7 By contrast, Cohen
                 contends that ConAgra used the generic approval process for
                 its labels, improperly bypassing FSIS review. Here, we find
                 that the mere existence of the label is insufficient to establish
                 that it was reviewed and approved by FSIS. Preemption is
                 an affirmative defense, so the defendant bears the burden of
                 pleading and supporting its preemption argument. See
                 Durnford v. MusclePharm Corp., 907 F.3d 595, 603 n.8 (9th
                 Cir. 2018). Thus, when the parties dispute whether FSIS
                 review occurred at all, the defendant must produce evidence
                 that the label was reviewed and approved by FSIS. After all,

                 that the challenged statements were reviewed by FSIS and would
                 preempt Cohen’s claims.

                      “Rule 28(j) . . . is not designed to bring new evidence through the
                 back door.” Manley v. Rowley, 847 F.3d 705, 710 n.2 (9th Cir. 2017)
                 (citation omitted). Even if we could take judicial notice of the approval
                 (and ConAgra had so moved), we would remand for consideration of this
                 new information, especially where we are remanding for consideration
                 of Cohen’s website claims. On remand, ConAgra may submit its
                 approval evidence to the district court, which may take judicial notice of
                 the evidence (if appropriate) or allow limited discovery only into
                 ConAgra’s preempted-by-approval defense. See Ellingson Timber Co.
                 v. Great N. Ry. Co., 424 F.2d 497, 499 (9th Cir. 1970) (recognizing
                 court’s authority to limit discovery to potentially dispositive issues).
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                        Instead, the plaintiff in Webb argued only that the retained water
                 claim itself was a generic claim, which is true. 999 F.3d at 1203. But a
                 review of the agency’s rules showed that “when a poultry label includes
                 special statements in addition to general statements, FSIS reviews the
                 entirety of the label.” Id. And because the label contained special
                 statements, we concluded that FSIS reviewed and approved all the
                 statements on the label, including the generic retained water claim. Id.
                 at 1203–04.
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 13 of 17 Page ID #:335




                                       COHEN V. CONAGRA                             13

                 the defendant producer and not the plaintiff will have access
                 to evidence as to FSIS review and approval of its label. 8 Cf.
                 Molski v. Foley Ests. Vineyard & Winery, LLC, 531 F.3d
                 1043, 1048 (9th Cir. 2008). And this is hardly a significant
                 burden. 9 Thus, we reverse the district court’s preemption of
                 Cohen’s claims challenging the product labels.

                     We emphasize the limited nature of our remand. On
                 remand, the parties should submit evidence about (and the
                 district court should decide) only whether ConAgra’s label
                 was reviewed and approved by FSIS. If the evidence shows
                 that ConAgra’s label was approved by FSIS, then Cohen’s
                 claims are preempted. Cohen may not try to argue or show
                 that FSIS’s approval decision was wrong. Once the agency
                 has decided that a poultry label meets the requirements of
                 federal law, a plaintiff has no recourse through state law
                 (except for the “possible ‘narrow gap’” discussed supra note
                 5, which is inapplicable here).

                                                  IV.

                     ConAgra’s website representations, however, were not
                 reviewed by FSIS. The federal regulations require only the
                 review of labels, which “means a display of written, printed,
                 or graphic matter upon any article or the immediate
                 container . . . of any article.” 21 U.S.C. § 453(s). A website

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                       That a plaintiff could make a Freedom of Information Act request
                 to FSIS is irrelevant. It is the defendant who will have the required
                 information (assuming the defendant’s review and approval claim is
                 accurate).
                     9
                        As if to prove our point, ConAgra evidently had no trouble
                 producing records of FSIS review after oral argument. But as we have
                 discussed, ConAgra should have submitted that evidence to the district
                 court, not on appeal, and not through a 28(j) letter.
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 14 of 17 Page ID #:336




                 14                    COHEN V. CONAGRA

                 representation is not a label. But in Taylor AG Industries v.
                 Pure-Gro, we held that state law claims related to
                 advertising that are “premised ultimately upon the
                 inadequacy of the product label” are treated the same as a
                 state law claim about the label itself. 54 F.3d 555, 561 (9th
                 Cir. 1995). We further held that a plaintiff’s state law claim
                 that a manufacturer had inadequate warnings at the point-of-
                 sale of a product is preempted if federal law does not require
                 the label to include such warnings. Id. That rule is logical
                 and necessary. Otherwise, plaintiffs could circumvent
                 preemption by simply challenging an online picture of a
                 label rather than the label itself. 10

                     But here, the label and the website are not materially
                 identical. The key website representation about the chicken
                 products reads: “They’re made with 100% natural, white
                 meat chicken and without preservatives, artificial flavors, or
                 artificial colors.” Applying our holding in Taylor AG
                 Industries, and assuming that the product labels were
                 reviewed by FSIS, Cohen cannot challenge the first half of
                 that representation. The phrase “They’re made with 100%
                 natural, white-meat chicken” is essentially identical to the
                 representation on the product label—“Made with 100%
                 Natural White Meat Chicken.” Any challenge to that phrase
                 is thus “premised ultimately upon the inadequacy of the
                 product label” and preempted. Taylor AG Indus., 54 F.3d
                 at 561.

                     But the second half of that representation—“They’re
                 [(the chicken products)] made . . . without preservatives,
                 artificial flavors, or artificial colors”—is materially different

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                       It is not clear if Cohen is challenging the image of the chicken
                 products as misleading, but if he is, that claim would be preempted
                 (assuming FSIS reviewed and approved the label).
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 15 of 17 Page ID #:337




                                       COHEN V. CONAGRA                             15

                 from the representations on the label. As ConAgra
                 acknowledges, the label “nowhere claims that the products,
                 as a whole, . . . contain ‘no preservatives.’” But the website
                 representation does claim that the chicken products as a
                 whole are made without preservatives, artificial flavors, or
                 artificial colors. The conjunction “and” shows that the
                 phrase “without preservatives, artificial flavors, or artificial
                 colors” modifies the whole product, not just the “natural,
                 white-meat chicken.” Thus, the website representation
                 materially differs from the product label. Accordingly,
                 Cohen’s state law claims challenging ConAgra’s website
                 representation that the chicken products as a whole contain
                 no preservatives, artificial flavors, or artificial colors, are not
                 preempted (whether or not the product labels were reviewed
                 and approved by FSIS).

                                                  V.

                     ConAgra urges us to affirm the district court’s decision
                 on different grounds, but we decline its invitation. ConAgra
                 argues that (1) there is no plausible claim that its
                 representations are false or misleading under California’s
                 reasonable consumer standard, see Williams v. Gerber
                 Prods. Co., 552 F.3d 934, 938 (9th Cir. 2008); (2) Cohen has
                 failed to plead “with particularity the circumstances
                 constituting fraud,” Fed. R. Civ. P. 9(b); (3) Cohen has not
                 alleged an injury in fact; (4) Cohen has not alleged a future
                 harm, and thus cannot seek injunctive relief; and (5) this case
                 should be referred to the agency to decide in the first
                 instance, under the primary jurisdiction doctrine. 11 We
                 decline to consider ConAgra’s first four arguments, which
                 ConAgra may reassert on remand. We reach only

                     11
                        ConAgra incorporates by reference another argument in a
                 footnote. We do not consider that argument. See Ninth Cir. R. 28-1(b).
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 16 of 17 Page ID #:338




                 16                 COHEN V. CONAGRA

                 ConAgra’s last argument and conclude that the primary
                 jurisdiction doctrine is inapplicable here.

                     The primary jurisdiction doctrine “is a prudential
                 doctrine under which courts may, under appropriate
                 circumstances, determine that the initial decisionmaking
                 responsibility should be performed by the relevant agency
                 rather than the courts.” Syntek Semiconductor Co., Ltd., v.
                 Microchip Tech. Inc., 307 F.3d 775, 780 (9th Cir. 2002).
                 “Primary jurisdiction is properly invoked when a claim . . .
                 requires resolution of an issue of first impression, or of a
                 particularly complicated issue that Congress has committed
                 to a regulatory agency.” Brown v. MCI WorldCom Network
                 Servs., Inc., 277 F.3d 1166, 1172 (9th Cir. 2002). “The
                 doctrine does not require that all claims within an agency’s
                 purview to be decided by the agency. Nor is it intended to
                 ‘secure expert advice’ for the courts from regulatory
                 agencies every time a court is presented with an issue
                 conceivably within the agency’s ambit.” Id. (quoting United
                 States v. Gen. Dynamics Corp., 828 F.2d 1356, 1365 (9th
                 Cir. 1987)).

                     The issue here, whether ConAgra’s product labels are
                 false or misleading, is not a complicated issue or even an
                 issue of first impression, as FSIS may have already decided
                 the question. There is also no risk of conflict between FSIS
                 and courts because the PPIA preempts any state law claims
                 that would impose requirements different from the federal
                 requirements imposed by FSIS. See Webb, 999 F.3d at 1203.
                 Thus, none of the justifications for the primary jurisdiction
                 doctrine exist here. Moreover, the doctrine would require us
                 to “either stay[] proceedings or dismiss[] the case without
                 prejudice, so that the parties may seek an administrative
                 ruling.” Clark v. Time Warner Cable, 523 F.3d 1110, 1115
                 (9th Cir. 2008). But “‘[t]here is no formal transfer
Case 8:20-cv-00637-DOC-ADS Document 35 Filed 10/26/21 Page 17 of 17 Page ID #:339




                                          COHEN V. CONAGRA                   17

                 mechanism between the courts and the agency’; rather, the
                 parties are responsible for initiating administrative
                 proceedings themselves.” Id. (quoting Syntek, 307 F.3d
                 at 782 n.3). Here, it is unclear how Cohen could seek an
                 administrative ruling, and ConAgra does not suggest a path
                 forward. For these reasons, we decline to invoke the primary
                 jurisdiction doctrine.

                   AFFIRMED IN PART, REVERSED IN PART, and
                 REMANDED. 12




                    12
                         The parties shall bear their own costs on appeal.
